Case 3:17-cv-00939-WHA Document 2478-6 Filed 01/14/18 Page 1 of 7




                 EXHIBIT E
     Case 3:17-cv-00939-WHA Document 2478-6 Filed 01/14/18 Page 2 of 7
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1                 UNITED STATES DISTRICT COURT
2                 NORTHERN DISTRICT OF CALIFORNIA
3                        SAN FRANCISCO DIVISION
4                                  --oOo--
5    WAYMO LLC,
6                        Plaintiff,
7
     vs.                                 Case No. 3:17-cv-00939-WHA
8
9    UBER TECHNOLOGIES, INC.;
     OTTOMOTTO LLC; OTTO TRUCKING LLC,
10                       Defendants.
11   __________________________________/
12
13          HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
14
15          30(b)(6) VIDEOTAPED DEPOSITION OF LIOR RON
16                               VOLUME II
17                    TUESDAY, DECEMBER 12, 2017
18
19
20   Reported by:
21   Anrae Wimberley
22   CSR No. 7778
23   Job No. 2771228B
24
25   Pages 306 - 434

                                                              Page 306

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     Case 3:17-cv-00939-WHA Document 2478-6 Filed 01/14/18 Page 3 of 7
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1    will work and be most convenient for you.                    17:26:43

2              But you know, look.        You closed the last

3    deposition, and I'll give you some wiggle room if

4    you made a mistake.     It's okay.

5         MR. SCHMIDT:     All right.     I'm going to move on    17:26:53

6    because this is wasting my time.

7         MR. RABIN:     So how do you want to proceed?

8         MR. SCHMIDT:     I'm going to ask the questions

9    that I think need to be asked.        And if the witness

10   refuses to answer the questions, then we'll take it          17:27:07

11   up later as appropriate.

12             I think the transcript is very clear on

13   what's going on here.

14   BY MR. SCHMIDT:

15        Q.   Sir, was Slack used at Ottomotto in                17:27:21

16   conjunction with the negotiations that led to the

17   acquisition of Ottomotto by Uber?

18        A.   No.     I do not believe we've used Slack to

19   communicate with Uber on any matters related to the

20   negotiation.                                                 17:27:41

21        Q.   Were any forms of communication that you

22   consider ephemeral communications used during the

23   negotiations that led to the acquisition of

24   Ottomotto by Uber?

25        A.   No, not to the best of my knowledge.               17:27:58

                                                                 Page 342

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     Case 3:17-cv-00939-WHA Document 2478-6 Filed 01/14/18 Page 4 of 7
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1            Q.   What methods of communications were used              17:42:28

2    regarding the negotiations for Uber's acquisition of

3    Ottomotto?

4            A.   Again, the topic here is around ephemeral,

5    and so are you asking in my personal capacity sort                 17:42:43

6    of all the communication channels?

7            Q.   I just want to know whatever communication

8    channels you can recall that were used to

9    communicate about the acquisition of Ottomotto by

10   Uber.                                                              17:43:00

11           MR. RABIN:     You can answer.       If it's ephemeral,

12   you can do it in your corporate capacity.               If it's

13   not ephemeral, you can do it in your individual

14   capacity.

15           THE WITNESS:     Right.     So I don't think -- in my      17:43:08

16   corporate capacity, I don't think any of the

17   communication methods were ephemeral, meaning sort

18   of used in communication channels that are designed

19   to not store messages by default.

20                In my personal capacity I believe there               17:43:22

21   was e-mail and text messages used, if I recall

22   correctly.

23           MR. RABIN:     And let me just stop one second.

24                So just for the record, I'm allowing you

25   to proceed on this basis so as not to impede it.                   17:43:36

                                                                       Page 354

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     Case 3:17-cv-00939-WHA Document 2478-6 Filed 01/14/18 Page 5 of 7
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1         A.     Well, as I've conversed with James, I            18:16:43

2    don't believe he used it, and he does -- to the best

3    of my understanding and his understanding, nobody on

4    his team has used that tool as well.

5                And as we've discussed before, Anthony got       18:16:56

6    an invitation to that tool, but I'm not aware of any

7    communication whatsoever that Anthony had on the

8    tool at all, and on the tool specifically relating

9    to LiDAR.

10        Q.     Did you ask Mr. Levandowski if he                18:17:15

11   communicated on Wickr about LiDAR development?

12        MR. RABIN:     Objection; form.

13        THE WITNESS:     I have not asked Anthony directly

14   that question.    But it is my understanding that he

15   got an invitation from the ThreatOps team as a               18:17:33

16   follow-up to our meeting on market data, and it had

17   nothing to do with LiDAR development whatsoever.

18   That's my understanding.

19   BY MR. SCHMIDT:

20        Q.     What's that understanding based on?              18:17:46

21        A.     It's based on the dates of that invitation

22   being sent in the time frame of our discussion with

23   the ThreatOps team.

24               It's based on the fact that the invitation

25   came on the same e-mail to the two of us, and only           18:18:04

                                                                Page 378

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     Case 3:17-cv-00939-WHA Document 2478-6 Filed 01/14/18 Page 6 of 7
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1    the two of us, and not to any other sort of LiDAR                18:18:08

2    team members.

3                    And it came -- and it stems from my

4    understanding that the LiDAR team has not used Wickr

5    for their job.                                                   18:18:22

6                    And I believe I haven't seen names of

7    LiDAR team members on that list of Wickr users at

8    Uber, but I'm happy to take another look to refresh

9    my memory and be definitive on that answer.

10           Q.      I'm sorry, I just don't have time to help        18:18:40

11   you prepare for your corporate testimony.               So if

12   you're not able to say --

13           MR. RABIN:     Counsel, please be respectful to

14   the witness.

15           MR. SCHMIDT:     Counsel, don't make speaking            18:18:50

16   objections.

17           MR. RABIN:     I'm not.     I'm asking you to please,

18   as an officer of the Court, be respectful in the

19   deposition to the witness.           What you're doing is not

20   respectful.                                                      18:18:58

21           MR. SCHMIDT:     All right.      I'm moving on.

22   You're wasting my time again.

23           MR. RABIN:     And don't tell me I'm wasting your

24   time.        I'm trying to ask you to be respectful.

25   Okay?                                                            18:19:05

                                                                     Page 379

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     Case 3:17-cv-00939-WHA Document 2478-6 Filed 01/14/18 Page 7 of 7
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 1         FEDERAL CERTIFICATE OF DEPOSITION OFFICER
 2         I, ANRAE WIMBERLEY, CSR NO. 7778, do hereby
     declare:
 3         That, prior to being examined, the witness
     named in the foregoing deposition was by me duly
 4   sworn pursuant to Section 30(f) (1) of the Federal
     Rules of Civil Procedure and the deposition is a
 5   true record of the testimony given by the witness;
 6         That said deposition was taken down by me in
     shorthand at the time and place therein named and
 7   thereafter reduced to text under my direction;
 8         --x---    That the witness was requested to
     review the transcript and make any changes to the
 9   transcript as a result of that review pursuant to
     Section 30(e) of the Federal Rules of Civil
10   Procedure;
11                  No changes have been provided by the
     witness during the period allowed;
12         -----    The changes made by the witness are
13   appended to the transcript;
14                  No request was made that the
     transcript be reviewed pursuant to Section 30(e) of
15   the Federal Rules of Civil Procedure .
16         I further declare that I have no interest in
     the event of the action.
17         I declare under penalty of perjury under the
18   laws of the United States of America that the
     foregoing is true and correct.
19         WITNESS my hand this 13th day of December,
20   2017.
21
22
23
24

25                  ANRAE WIMBERLEY, CSR NO. 7778

                                                              Page 434

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